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                      UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MASSACHUSETTS


                                     )    MDL No. 13-md-2432-RGS
In re: NEUROGRAFIX (’360) PATENT     )
LITIGATION                           )    This document relates to:
                                     )    All Member Actions
                                     )
                                     )    FILED UNDER SEAL
                                     )


            MEMORANDUM OF LAW IN SUPPORT OF DEFENDANTS’
                 CONSOLIDATED MOTION TO DISMISS


          LEAVE TO FILE EXCESS PAGES GRANTED ON MAY 13, 2013

           LEAVE TO FILE UNDER SEAL GRANTED ON MAY 14, 2013
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       Pursuant to the Court’s order, dated April 30, 2013, Defendants hereby respectfully

submit their memorandum in support of their consolidated motion to dismiss.1

I.   INTRODUCTION

       Plaintiffs’ complaints must be dismissed because NeuroGrafix, Neurography Institute

Medical Associates, Inc. (“NIMA”), and Image-Based Surgicenter Corporation (“IBSC”) lack

constitutional and prudential standing to sue for infringement of U.S. Patent No. 5,560,360 (“the

’360 patent”). As shown in Figure 1 on the next page, each step in the purported chain of title

has multiple flaws, any one of which is fatal to jurisdiction. The inventors, whose research was

funded by several trusts in the United Kingdom (“UK Trusts”) as well as the National Institutes

of Health (“NIH”) and GE Medical Systems, initially assigned their rights to both the University

of Washington (“UW”) and St. George’s Hospital Medical School (“St. George’s”). UW’s

attempt to license all its rights to Washington Research Foundation (“WRF”) failed because (1) it

was rendered null and void by a later agreement (the Technology Administration Agreement or

“TAA”)); (2) UW retained a substantial right to sue infringers; and (3) the license is subject to

1
  Pursuant to paragraph 8 of the Procedural Order, the defendants in the stayed actions
understand that “[a]ny orders, other than orders setting deadlines previously entered by this or
any transferor district court, shall remain in full force and effect unless modified by this court
upon application.” Although the stayed cases would necessarily be affected if the Court were to
hold that Plaintiffs do not have constitutional or prudential standing to sue, this motion is not
being made on behalf of the defendants to those cases, since doing so would be inconsistent with
the cases being stayed and the Court’s Procedural Order. Specifically, the defendants to three of
the stayed Massachusetts customer cases did not answer the complaints, but rather filed motions
to dismiss that raised standing issues under Rules 12(b)(1) and 12(b)(7), as well as defects in the
pleadings under Rule 12(b)(6). See ECF Dkt. #32, NeuroGrafix v. Beth Israel Deaconess
Medical Center, Inc., C.A. No. 12-11274 (D. Mass.); ECF Dkt. #26, NeuroGrafix v. Brigham
and Women’s Hospital, Inc., C.A. No. 12-11275 (D. Mass.); and ECF Dkt. #27, NeuroGrafix v.
Trustees of Boston University, C.A. No. 12-11276 (D. Mass.). After the Court entered orders
staying those cases, the Court found the pending motions to dismiss moot in light of the stays,
and ordered that the motions to dismiss may be “renewed should the case[s] return to the active
docket.” See Elec. Orders, dated Dec. 11, 2012. When and if the stays are lifted, and those
defendants are required to respond to the complaints in the respective actions, they will
determine whether to renew their motions under Rule 12(b)(6) at that time.

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rights to St. George’s, NIH, and GE never assigned their rights (15, 16), so they may also be

necessary parties to a suit for infringement of the patent.

        Accordingly, because the three present plaintiffs lack constitutional standing to sue at all or,

at the very least, lack prudential standing to sue without UW, WRF, NIH, and/or GE, these cases

should be dismissed for lack of subject matter jurisdiction under Rule 12(b)(1) or for failing to join

a necessary party under Rule 12(b)(7). Alternatively, if the Court finds that the record as

developed thus far is insufficient to determine Plaintiffs’ standing, the Court should initially limit

discovery to the standing issue so that the Court may determine whether it has jurisdiction.

II.   BACKGROUND

      A.    Plaintiffs’ Allegations Regarding Ownership of Patent Rights

        Plaintiffs have alleged that UW owns the ’360 patent by assignment, UW granted WRF

an exclusive licensee with substantially all rights to the patent, and that WRF, in turn, granted

NeuroGrafix an exclusive license with substantially all rights to the patent. Plaintiffs further

allege that NeuroGrafix has granted an exclusive license with substantially all rights to the patent

to NIMA, which granted back to NeuroGrafix an exclusive field-of-use license and granted to

IBSC another exclusive field-of-use license. According to Plaintiffs, these transactions left

NeuroGrafix, NIMA, and IBSC each with an exclusive field-of-use, and standing for them to sue

accused infringers without adding UW, WRF, or any other entity as a co-plaintiff. The truth is

considerably more complicated.

      B.    The Long and Tortuous History of the ’360 Patent

            1.   The Patent Rights Were Initially Shared Between the University of
                 Washington and St. George’s Hospital Medical School.

        On its face, the ’360 patent names Drs. Aaron G. Filler, Jay S. Tsuruda, Todd L.

Richards, and Franklyn A. Howe as co-inventors. Ex. 1 (’360 patent), Cover Page. Dr. Filler


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assigned his rights in the application that matured into the ’360 patent to both the UW and St.

George’s in a single assignment executed on June 14, 1993. Ex. 3 (Filler Assignment). The next

day, Drs. Tsuruda and Richards assigned their rights to UW. Ex. 4 (Tsuruda Assignment); Ex. 5

(Richards Assignment). And Dr. Howe assigned his rights to St. George’s that same day. Ex. 6

(Howe Assignment). Accordingly, the rights to the ’360 patent were split at least between UW

and St. George’s.

           2.   Entities That Funded the Named Inventors’ Research Had Rights to the ’360
                Patent.

       Several entities other than UW and St. George’s apparently held rights to the ’360 patent

as a result of the named inventors’ grants or funding agreements with them. Wellcome Trust and

St. George’s Healthcare NHS Trust funded research for Dr. Filler, and Cancer Research

Campaign Technology Ltd. funded research for Dr. Howe. See Exs. 15-17 (Funding Entity

Assignments). These entities are the above-referenced UK Trusts.

       Additionally, the National Institutes of Health (“NIH”) funded Dr. Filler’s research, and

GE Medical Systems funded Dr. Tsuruda’s research. See Filler et al., Magnetic Resonance

Neurography, 341 Lancet 659, 661 (March 13, 1993) (Ex. 2).2

       In November 2007 and February 2008, most of these funding entities assigned their rights

to the patent to St. George’s, which assignments purported to be retroactive to February 1, 1992.

See Exs. 15-17. There is no evidence, however, that the NIH or GE Medical Systems assigned

any of their rights in the ’360 patent to UW, St. George’s, or any other entity. Accordingly, the


2
  Dr. Filler has stated that this Lancet article is one of the initial reports concerning the supposed
inventions disclosed in the ’360 patent, and it was published a few days after the named
inventors filed the ’360 patent application. See A.G. Filler et al., The History, Development and
Impact of Computed Imaging in Neurological Diagnosis and Neurosurgery: CT, MRI, and DTI
(2009), at 44 (Ex. 11). The Lancet article includes several of the images that were used as
figures in the ’360 patent. Compare Ex. 2 at 660 with Ex. 1 (’360 patent), Figs. 20-22.

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NIH and GE Medical Systems may still retain rights in the patent.

           3.         In March 1994, UW and WRF Executed an “Exclusive Technology License.”

        On March 23, 1994, UW and WRF entered into what they termed an “Exclusive

Technology License” (hereafter, the “UW-WRF License”). Ex. 7 (UW-WRF License) at 1. By

this agreement, WRF received

                        , id. § 2.01, which was defined to include patent rights

                                                                   ” Id. § 1.02.

           4.         In May 1994, UW, WRF, and St. George’s Executed a Technology
                      Administration Agreement.

        About two months after UW and WRF executed the Exclusive License Agreement, in

May 1994, UW, WRF, and St. George’s entered into a “Technology Administration Agreement”

(hereinafter, the “TAA”). Under the TAA, St. George’s “agree[d] to assign” patent rights to

UW. Ex. 8 (TAA) § 2.1. Also, the TAA stated that UW “agree[d] to exclusively license” to

WRF its patent rights, including those it would receive from St. George’s. Id. § 2.2. The TAA

does not state or suggest that the TAA actually effectuated such a license. Indeed, the TAA

provides that “

                Id.

        By its terms, however, the TAA’s effective date was May 31, 1994, “the date of the last

party to sign” the agreement, id. at 2, 7, and it

                                                                         the rights in the purported

invention of Drs. Filler, Tsuruda, Richards, and Howe. Id. § 10.1.

        It was not until 2008, after St. George’s had received assignments from the UK Trusts, that

St. George’s finally assigned its patent rights to UW. See Ex. 9 (St. George’s-UW Assignment) at

4. That 2008 assignment purported to be retroactive and “effective as of 31 May, 1994,” i.e., the


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date St. George’s executed the TAA and two months after the UW-WRF License was executed.

Id. at 2. There is no evidence that UW and WRF entered into any license agreement on or after

May 31, 1994.

       This apparent break in the chain of title has been briefed by various defendants in this MDL

in previous motions to dismiss. Apparently unable to locate the Exhibit A or an agreement

between UW and WRF executed after the TAA, Plaintiffs have responded with a 2013 declaration

by WRF’s John Reagh, who testifies to events that allegedly happened in March 1994, along with

letters and drafts of agreements purporting to be from that same time period. As discussed below,

Plaintiffs’ newly-submitted evidence, most of which is inadmissible, does not respond to most of

Defendants’ arguments, yet Plaintiffs continue to assert that they still “have standing to bring this

action.” Ex. 19 (University of Chicago case, Plaintiffs’ Opposition to Defendants’ Motion to

Dismiss Under Rules 12(b)(1) and 12(b)(7)) at 13.3

           5.   In 1998, WRF and NeuroGrafix Executed an Exclusive License Agreement.

       In December 1998 – ten years before St. George’s belated assignment, and four years

after the UW-WRF License and TAA were executed – WRF and NeuroGrafix executed an

“Exclusive License Agreement,” by which WRF purported to grant NeuroGrafix “exclusive

rights to make, use, and sell Licensed Products” that

                                                                             Ex. 10 (WRF-

NeuroGrafix 1998 License) § 2; see id. § 1.7, Appx. A (identifying rights in the ’360 patent as

part of the “Patent Rights”).



3
   Plaintiffs have filed over fifteen lawsuits seeking to enforce the ’360 patent. In many of them,
defendants have filed motions like this one challenging Plaintiffs’ standing. Plaintiffs’ opposition
brief in the University of Chicago case, the latest response by Plaintiffs to the standing motions, is
cited herein as representative of Plaintiffs’ current positions.

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substantially similar language as that used in the 1998 WRF-NeuroGrafix Exclusive License

Agreement and references an “Appendix A.” Appendix A, however, is not attached to the

Amended Agreement, and Plaintiffs have failed to produce it, even after being ordered by the

Court of Federal Claims to do so in a related case in which Plaintiffs have accused the U.S.

Government of infringement.4 Ex. 23.

        The Amended Agreement does not grant to NeuroGrafix the exclusive right to import or

offer for sale products or services relating to the ’360 patent, which are two of the five

exclusionary rights given to a patent owner under 35 U.S.C. § 154(a)(1). Indeed, the agreement

purports to grant to NeuroGrafix only the exclusive rights “to make, use and sell Licensed

Products in the Territory . . . .”

        Additionally, by the Amended Agreement,



             Id. §§ 3, 4. NeuroGrafix is obligated to



       Id. §§ 4, 5.




III. LEGAL STANDARD

        Plaintiffs have the burden to establish that this Court has jurisdiction over the subject

matter, including by demonstrating that they have standing. See Lujan v. Defenders of Wildlife,


4
 The Court of Federal Claims action was not centralized as part of this MDL. The
Government’s motion to dismiss for lack of standing is still pending before that court. See
NeuroGrafix v. United States, C.A. No. 12-00385 (C.F.C.) (Damich, J.).

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504 U.S. 555, 561 (1992) (holding that plaintiffs must establish each of the elements of subject

matter jurisdiction as part of their case). Because Plaintiffs assert that they have standing to

enforce the ’360 patent not as the patentee or owner, but as licensees, it is their burden to provide

evidence that they have sufficient rights in the patent to do so. See Fieldturf, Inc. v. Southwest

Recreational Indus., Inc., 357 F.3d 1266, 1268 (Fed. Cir. 2004); Mentor H/S, Inc. v. Med. Device

Alliance, Inc., 240 F.3d 1016, 1018 (Fed. Cir. 2001). This Court is empowered to consider

evidence outside the pleadings in deciding a motion to dismiss under Federal Rule of Civil

Procedure 12(b)(1).5 See Torres-Negrón v. J & N Records, LLC, 504 F.3d 151, 163 (1st Cir.

2007) (“[T]he trial court is free to weigh the evidence and satisfy itself as to the existence of its

power to hear the case.”) (internal quotation marks omitted).

       When analyzing standing in patent cases, courts generally consider into which of three

categories a plaintiff may fit: “those that can sue in their own name alone; those that can sue as

long as the patent owner is joined in the suit; and those that cannot even participate as a party to

an infringement suit.” Morrow v. Microsoft Corp., 499 F.3d 1332, 1339 (Fed. Cir. 2007).

       The first category consists of patentees and exclusive licensees that have received “all

substantial rights” in the patent, the latter of which “amounts to an assignment or transfer of

title.” Id. at 1340. A “patentee” includes the person or persons to whom the patent issued and

the assignees of the patent rights. See, e.g., Israel Bio-Eng’g Project v. Amgen, Inc., 475 F.3d

1256, 1264 (Fed. Cir. 2007). This includes not only assignees of the entire patent, but assignees

5
  The Federal Circuit has held that the question of whether a licensee has an exclusive license
with all substantial rights in the patent, and, therefore, prudential standing, is ultimately a
question concerning the court’s jurisdiction. See Mentor H/S, 240 F.3d at 1018. Thus, the
prudential standing issues presented in this motion are properly addressed under the Rule
12(b)(1) standard, rather than under Rule 12(b)(6). However, even if the Court were to consider
the prudential standing issue under Rule 12(b)(6), dismissal would still be appropriate in view of
the evidence here, which the Court may rely on for the purposes of Rule 12(b)(6). See Miss.
Pub. Employees’ Ret. Sys. v. Boston Scientific Corp., 523 F.3d 75, 86 (1st Cir. 2008).

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of the entire patent right within a given geographic territory of the United States and assignees of

“an undivided part or share of that exclusive right.” Id. In the case of co-owners of undivided

parts, however, one “joint owner must join all the other co-owners to establish standing.” Id.

          The second category consists of exclusive licensees with less than all substantial rights.

Morrow, 499 F.3d at 1340. To satisfy prudential standing requirements, the owner of the legal

title to the patent must be joined as a plaintiff. Id.

          The third category consists of non-exclusive licensees, who cannot suffer a legal injury

because they lack exclusionary rights under the patent. Id. Without a legal injury, non-exclusive

licensees do not have constitutional standing to sue for infringement and cannot sue even if the

patent owner is joined as a co-plaintiff. Id. at 1341.

IV. ARGUMENT

          Plaintiffs allege that UW owns the ’360 patent. For Plaintiffs to thus have standing to sue

on the ’360 patent without joining UW, they must prove that UW has transferred all substantial

rights in the patent and that they have received all substantial rights. Plaintiffs fail on both

counts.

     A.      The University of Washington Still Holds Substantial Rights in the ’360 Patent
             and Must Be a Plaintiff in These Actions.

             1.   The UW-WRF License Did Not Transfer Any Rights in the ’360 Patent to
                  WRF Because the UW-WRF License Was Superseded by the TAA.

          The UW-WRF License was superseded by the Technology Administration Agreement

(TAA) executed two months later, on May 31, 1994, and made null and void prior to WRF

granting rights to NeuroGrafix. More specifically, TAA

                                                               Ex. 8 § 10.1. The UW-WRF License

was dated March 23, 1994, Ex. 7 at 1, making it a prior agreement, and it relates to the same

technology as the TAA, which references the International counterpart application to the ’360

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and the TAA, “extrinsic evidence of the parties’ intent is generally not admissible to contradict

the terms of a written agreement.” In re Marriage of Schweitzer, 937 P.2d 1062, 1066 (Wash.

1997). Plaintiffs’ evidence therefore cannot be considered to the extent that it contradicts the

TAA’s operative and explicit language concerning its superseding of the UW-WRF License.

                b.   Plaintiffs’ Extrinsic Evidence Does Not Reveal St. George’s Intent.

       Plaintiffs’ extrinsic evidence does not bear on St. George’s intent, Mr. Reagh could not

have personal knowledge about St. George’s intent, and Plaintiffs’ supposed evidence is, at best,

mere hearsay in that regard. Furthermore, there is no evidence that St. George’s was involved in

the decision between UW and WRF to enter into a side license prior to the execution of the TAA.

See Ex. 21 (Reagh Decl.) ¶ 4; Ex. 22 (March 22, 1994 letter from WRF to UW, not copied to St.

George’s).

       Plaintiffs have previously asserted that UW, WRF, and St. George’s “intended for the

TAA to establish the foundation for the UW-WRF License, not terminate the UW-WRF

License.” Ex. 19 (Opp. to Mot. to Dismiss in University of Chicago) at 5. But even assuming

that this were true, the evidence Plaintiffs proffered shows that UW and WRF frustrated such

“intent” by entering into the UW-WRF License early, and essentially behind St. George’s back.

Furthermore, in contrast to Plaintiffs’ previous argument that “UW, St. George’s and WRF

intended to enter into an agreement that consisted of two parts,” id., the letters Mr. Reagh

attached to his declaration actually show a three-part serial arrangement, consisting of all three

entities executing the TAA, then having St. George’s assign its rights to UW, and then having

UW exclusively license WRF. Indeed, the March 9, 1994 letter from Mr. Reagh to Mr. Hill of St.

George’s states that the provisions of the TAA call for a serial process of assignment of rights

such that St. George’s assignment to UW would precede the UW license to WRF:



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Ex. 20 at 1 (emphasis added).

       There is no evidence whatsoever that St. George’s even knew that UW had already

licensed its rights to WRF when the parties executed the TAA two months later. And although

Mr. Reagh testified that St. George’s was “amenable to the terms of the draft TAA and UW-WRF

License,” which Plaintiffs call “nearly identical to the draft UW-WRF License that was approved

by St. George’s on March 17, 1994,” Ex. 19 at 6, Mr. Reagh makes no statement as to whether

St. George’s was amenable to one of the most important terms in the executed UW-WRF

License, i.e., the date of execution. In other words, even if Mr. Reagh is correct that St. George’s

agreed to the form of the UW-WRF License on March 17, 1994, there is no evidence that St.

George’s agreed that the UW-WRF License would be entered into before St. George’s signed the

TAA or assigned its rights in the ’360 patent to UW.

           2.   The Rights St. George’s Assigned to UW Were Not Licensed to WRF, So UW
                Still Holds Rights in the Patent.

       Even if one were to assume that the UW-WRF License somehow survived the TAA, UW

could have granted to WRF only the rights that UW had received at the time of that license by

way of the assignments from Drs. Filler, Tsuruda, and Richards. As mentioned above, Dr. Howe

had assigned his rights to St. George’s, and Dr. Filler had assigned part of his rights to St.

George’s as well. Although in 2008 St. George’s purported to retroactively assign its rights to

UW with an effective date of May 31, 1994, i.e., the date of the TAA, the UW-WRF License was

executed two months prior in March 1994 and, therefore, even if this retroactive assignment

were effective, it would not have assigned St. George’s rights far back enough for them to be

transferred by virtue of the March 1994 UW-WRF License. In other words, UW did not have St.

George’s rights at the time that the UW-WRF License was executed and that License’s statement
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sale and importation.

         By its express terms, the Amended Agreement between WRF and NeuroGrafix grants

NeuroGrafix the rights only “to make, use, and sell Licensed Products.” Ex. 12 § 2. These

rights are just three of the five exclusive rights enjoyed by a patent owner under 35 U.S.C.

§ 154(a)(1), which also includes the rights to import into the United States and to offer to sell in

the United States.7

         By failing to convey all exclusive rights under the patent, the rights to exclude others

from infringing on the patent monopoly, WRF failed to convey all substantial rights. See

Waterman v. MacKenzie, 138 U.S. 252, 257 (1891) (holding, at a time when the patent law

afforded only the exclusive rights to make, use and sell, that a licensee with the rights to

manufacture and sell, but not the right to use, the patented invention did not have all substantial

rights). In Waterman, the plaintiff received by agreement “the sole and exclusive right and

license to manufacture and sell fountain penholders containing the said patented improvement

throughout the United States.” Id. Even though the Court assumed that this could be read to

imply a right to use penholders manufactured pursuant to the license, it “did not include the right

to use such penholders, . . . if manufactured by third persons.” Id. This omission rendered the

agreement a “mere license,” and the licensee had no “right to sue alone, at law or in equity, for

an infringement of the patent.” Id.

         Even assuming, as the Court did in Waterman, that Plaintiffs here have limited rights to

import or offer to sell “Licensed Products” made pursuant to the Amended Agreement, the
7
    The relevant text of 35 U.S.C. § 154(a)(1) is as follows:
         Every patent shall contain . . . a grant to the patentee, his heirs or assigns, of the right to
         exclude others from making, using, offering for sale, or selling the invention throughout
         the United States or importing the invention into the United States, and, if the invention is
         a process, of the right to exclude others from using, offering for sale or selling throughout
         the United States, or importing into the United States, products made by that process . . . .

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license still does not convey all substantial rights. For instance, NeuroGrafix received no right to

import patented devices manufactured by third parties in jurisdictions where the ’360 patent has

no foreign counterpart. The owner of the importation right under the ’360 patent (UW and/or

WRF, for reasons discussed above) therefore has authority to import or license a third party to

import those products into the United States without seeking any permission from NeuroGrafix

or its sublicensees. This is one of the statutory exclusive rights to which none of the plaintiffs

has any claim of ownership, and therefore Plaintiffs cannot hold all substantial rights in the ’360

patent. Because WRF and/or UW holds the rights to import and offer for sale, NeuroGrafix,

NIMA, and IBSC lack prudential standing to sue without one or both them.

       Moreover, Plaintiffs do not have constitutional standing to sue for alleged acts of

“offering to sell, or importing” infringing products or services because the Plaintiffs never

received those exclusive rights under the Amended Agreement. Without those exclusive rights,

Plaintiffs cannot have suffered any legal injury from the defendants’ alleged offers to sell or

importation of infringing products or services. See WiAV Solutions LLC v. Motorola, Inc., 631

F.3d 1257, 1264-65 (Fed. Cir. 2010) (“[T]he touchstone of constitutional standing in a patent

infringement suit is whether a party can establish that it has an exclusionary right in a patent that,

if violated by another, would cause injury to the party holding the exclusionary right to suffer

legal injury.”); Amgen, Inc. v. Chugai Pharm. Co., 808 F. Supp. 894 (D. Mass. 1992) (“[I]t is not

enough that Ortho-Amgen agreements grant Ortho certain exclusive rights. It is also necessary

that the infringement have occurred within Ortho’s ‘stated area of exclusivity.’”), aff’d, 52 F.3d

1026 (Fed. Cir. 1995); see also Morrow, 499 F.3d at 1339-1340 (licensee having exclusionary

right listed in 271(a) constitutionally injured when another performs an act that violates that

right). For this reason, Plaintiffs’ infringement claims should be dismissed to the extent they are



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based on alleged offers to sell or importation of infringing products and services.

                a.   Plaintiffs Misplace Their Reliance on the Recitals to the Amended
                     Agreement to Create a Grant of the Exclusive Right to Offer For Sale
                     and Import

       To overcome this glaring omission in the rights granted under the Amended Agreement,

Plaintiffs have previously relied upon Recital F to the agreement, which states that the “objective

of this Amendment is to remove WRF as a necessary party to actions where Licensee asserts the

Patent Rights against Third Party infringers and related actions.” Ex. 12 at 1. Plaintiffs have

suggested that this language should be used to fill in gaps and be used to supply missing grant

language. But the grant language is not ambiguous, Plaintiffs have never suggested any such

ambiguity in their previous briefing, and, under Washington law, which explicitly governs the

agreement, Ex. 12 § 21, recitals “do not constitute a promise or condition which would amount

to a contractual element of the agreement.” N. State Const. Co. v. Robbins, 457 P.2d 187, 192

(Wash. 1969). Recitals may be used to aid in the construction of the terms of an agreement “only

when and if [the terms] are unclear.” Rains v. Walby, 537 P.2d 833, 836 (Wash. App. Ct. 1975);

see Grey v. Leach, 244 P.3d 970, 975 (Wash. Ct. App. 2010) (“Clear and unambiguous contracts

are enforced as written.”).

       The grant provision of the Amended Agreement cannot be ambiguous because it is not

“fairly susceptible to two different interpretations, both of which are reasonable.” McDonald v.

State Farm Fire & Cas. Co., 837 P.2d 1000, 1004 (Wash. 1992). The provision mentions only

the rights to “make, use, and sell Licensed Products,” and says nothing about offering to sell or

importing Licensed Products. Ex. 12 § 2.1. There is no reasonable interpretation of this

language by which exclusive patent rights not listed would be included in the grant.

NeuroGrafix’s own agreement with NIMA provides an excellent counter-example. The

NeuroGrafix-NIMA License executed in 2011 purports to grant “an exclusive license to make,
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have made, use, import, sell, offer to sell, and have sold Licensed Products.” Ex.13 § 2.1. By

asserting that it received all substantial rights, NeuroGrafix is effectively asking this Court to

construe “make, use, and sell” to have the same meaning as “make, have made, use, import, sell,

offer to sell, and have sold.” There is no justification for doing so under the law governing the

contract.

       In fact, this difference between the 2011 NeuroGrafix-NIMA License and the 2012

Amended Agreement shows that NeuroGrafix knew how to draft a grant that conveyed the

exclusive rights to import and offer to sell. And NeuroGrafix was already aware that it had

attempted to transfer those exclusive rights to NIMA prior to the date of the Amended

Agreement. Nevertheless, the grant from WRF to NeuroGrafix omitted the exclusive rights to

import and offer to sell, which is incompatible with NeuroGrafix or one of its licensees having

all substantial rights. Therefore, at best, Plaintiffs would need to add a party whose presence as a

plaintiff would rectify the prudential standing issue.

                b.    Plaintiffs Have Mischaracterized The Aspex And Dexas Cases As
                      Holding That The Exclusive Rights To Offer For Sale And Import Are
                      Immaterial

       Plaintiffs have tried to address this lack of transfer of all rights to NeuroGrafix, but their

arguments fall short. Plaintiffs have cited Dexas Int’l, Ltd. v. Tung Yung Int’l (USA) Inc., No. 6:07-

cv-334, 2009 U.S. Dist. LEXIS 34766 (E.D. Tex. Feb. 25, 2009), and Aspex Eyewear, Inc. v.

Miracle Optics, Inc., 434 F.3d 1336 (Fed. Cir. 2006), as holding that the failure to obtain the two

statutory exclusive rights Plaintiffs failed to obtain was immaterial. Those cases did no such thing.

       In Aspex Eyewear, the district court had found that the plaintiff, Contour, lacked standing

to sue on the basis of a license by Contour to a non-party that the district court found to be an

assignment of all substantial rights. 434 F.3d at 1339. The Federal Circuit vacated the district

court’s decision and found that Contour maintained standing because it had not transferred all
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substantial rights. Id. at 1343. Although the Federal Circuit mentioned in passing that a

conveyance of the exclusive rights to “make, use, and sell, . . . often associated with ownership

of a patent . . . favor[ed] a finding of an assignment,” this was not related to the holding.8 Id. at

1342. Moreover, the court never addressed whether the absence of the rights to import and offer

to sell might affect this conclusion, because the court based its decision on entirely unrelated

grounds, holding that the license did not grant all substantial rights because the license had a

fixed term of years that expired long before the patent did. Id. at 1343.

        As for Dexas, that court did not find that the exclusive rights to offer for sale or import

were unnecessary, but found that, under Texas law, the agreement at issue actually conveyed all

exclusionary rights, including the rights to offer for sale and import. 2009 U.S. Dist. LEXIS

34766, at *19, *26-27. The agreement at issue in Dexas granted “an exclusive license to

manufacture and distribute the patented products.” Id. at *20 (emphasis added). Of course, this

license did not expressly recite the rights to offer for sale and import, id. at *13-14, but it also did

not expressly recite any of the rights enumerated in the Patent Act. Id. at *21. The Dexas court

rejected the argument that the failure to expressly name the statutory “offer to sell” and “import”

rights meant those rights were excluded. Id. at *17, *21-22. The reason, however, was that none

of the statutory rights was listed, so juxtaposing the agreement’s grant language with the Patent

Act was not appropriate, and the failure to expressly name these two rights was not significant.

Id. at *20-22.9


8
 Moreover, the Aspex court was merely quoting from the Supreme Court’s Waterman decision,
which issued well before the Patent Act was amended to include the exclusive rights to offer for
sale and import.
9
  To the extent the court in Dexas suggests that the absence of the importation right did not affect the
outcome of its decision, the court relied on the same incorrect reading of Aspex that Plaintiffs urge
here, and did not consider the Supreme Court’s decision in Waterman. See 2009 U.S. Dist. LEXIS
34766, at *22-24.

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        By contrast, in this case, three statutory rights are listed and two are absent. Under

Washington law, a contract that expressly grants certain rights effectively excludes similar,

unlisted rights. See Port Blakely Mill Co. v. Springfield Fire & Marine Ins. Co., 110 P. 36, 40-41

(Wash. 1910) (holding a contract, which was expressly voidable under certain conditions, could

not be avoided because the representation at issue did not include a provision for voiding the

contract). The omitted rights are therefore excluded from the scope of the Amended WRF-

NeuroGrafix Agreement. If WRF and NeuroGrafix intended to convey these rights, they could

have easily done so. Indeed, NeuroGrafix was aware of the statutory language. In its license

with NIMA, for example, it expressly listed all five of the exclusionary rights. Ex. 13 § 2.1.

        Neither Aspex nor Dexas, nor any other case of which Defendants are aware, has held

that a patent infringement plaintiff had standing to sue in its own name without having received

all of the exclusive rights under the Patent Act. On the other hand, the Supreme Court’s decision

in Waterman v. MacKenzie, 138 U.S. 252, 257 (1891), directly supports the proposition that one

cannot be an effective assignee – i.e., have all substantial rights – unless one at least has all

exclusive rights.

                 c.   Plaintiffs’ Argument That the Right to Exclude Third Parties From
                      Selling Includes the Right to Exclude Third Parties from Offering to
                      Sell is Incorrect.

        Plaintiffs also have previously argued that the right to offer to sell is implicit in the right to

sell, so WRF did not need to explicitly transfer that right. But the focus under Waterman is not on

whether the licensee might have been given the contractual right so that the licensee may make

offers for sale, where it might be appropriate to find that a contractual right to sell implies a right to

offer for sale. Rather, the focus under Waterman is on whether the licensee has been granted the

patentee’s right under the Patent Act to exclude others from making offers for sale. The

exclusionary rights to sell and offer for sale are listed separately in the Patent Act, and statutory
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redundancy should not be presumed. See Corley v. United States, 556 U.S. 303, 304 (2009).

        In any event, even if a grant of an exclusive right to sell could imply a grant of an exclusive

right to offer for sale, Plaintiffs have made no analogous argument regarding their lack of the

exclusive right to import, which cannot be read into or implied in the Amended Agreement.

                 d.   Plaintiffs’ Argument That NeuroGrafix’s Purported Grant of Exclusive
                      Rights to Offer for Sale and Import to NIMA Implies That
                      NeuroGrafix Received Those Rights From WRF is Nonsensical.

        Plaintiffs have also erroneously argued that the fact that NeuroGrafix purported to grant

NIMA the exclusive rights to offer to sell and import means that NeuroGrafix received those

rights from WRF. But this turns on its head the hornbook principle that one cannot grant what

one does not have. See Fieldturf, Inc. v. Southwest Rec. Indus., 357 F.3d 1266, 1269 (Fed. Cir.

2004) (holding that an agreement’s silence on important rights meant the agreement “fail[ed] to

convey all substantial interest in the . . . patent”). In fact, what the rights to offer to sell and

import in the 2011 NeuroGrafix-NIMA agreement mean is that the parties knew how to grant

those rights in 2012 when they amended the WRF-NeuroGrafix agreement, but they deliberately

decided not to have WRF grant such rights to NeuroGrafix.

        For these reasons, to the extent WRF received any rights in the ’360 patent, it retained

substantial rights such that it is a necessary party.

           2.    The Amended Agreement Does Not Grant NeuroGrafix All Rights to Sue.

        Although WRF and NeuroGrafix entered into the Amended agreement in 2012 supposedly to

cure defects in the original 1998 agreement regarding NeuroGrafix’s right and ability to sue,

NeuroGrafix was still not granted the right to sue all infringers. In the Amended Agreement,

NeuroGrafix was granted the right to sue Third Parties. Ex. 12. § 7.2. But the definition of Third

Party, which includes only “any individual, corporation, partnership or other business entity other

than WRF, Licensee, Affiliates and Sublicensees,” id. § 1.5, excludes “WRF, . . . Affiliates and

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Sublicensees” or governmental entities,10 so NeuroGrafix does not have an absolute right to sue

anyone, thus diminishing NeuroGrafix’s purported exclusive rights.

           3.   The Amended Agreement Between WRF and NeuroGrafix Does Not Include
                Rights to the ’360 Patent

        The Amended Agreement between WRF and NeuroGrafix, which is the supposed source of

NeuroGrafix’s right to the patent and, in turn, its licensees, NIMA and IBSC, also does not confer

standing since the Amended Agreement nowhere mentions that it covers the ’360 patent. The

Agreement licenses “Patent Rights,” which are defined as “WRF’s rights to granted and pending

claims for those patents listed in Appendix A,” id. § 1.7, but Plaintiffs have never produced Appendix

A to confirm the patents that are listed there. In Plaintiffs’ case pending against the U.S. Government

in the Court of Federal Claims, that court ordered Plaintiffs to produce such an Appendix, see Ex. 23.

To date, Plaintiffs have failed to produce Appendix A to the Amended Agreement. Because Plaintiffs

have not demonstrated that the Amended Agreement covers the ’360 patent, none of the three

plaintiffs can show that have any rights to the patent and that they have constitutional standing.

           4.   The Amended Agreement is Designed to Protect WRF’s Financial Interests.

        Furthermore, the Amended Agreement between WRF and NeuroGrafix contains several

provisions designed to protect the WRF’s pecuniary interests in the ’360 patent. See Propat Int’l

Corp. v. RPost US, Inc., 473 F.3d 1187, 1191 (Fed. Cir. 2007) (licensor’s retention of equity

interest in proceeds of licensing and litigation activities weighed in favor of determination that

licensor did not transfer all substantial rights in asserted patent); E8 Pharms. LLC v. Affymetrix,

Inc., 680 F. Supp. 2d 292, 299 (D. Mass. 2010) (licensor’s right to 20% of litigation proceeds

consistent with continued ownership). The Amended Agreement provides that:

10
   The United States and other governmental entities do not qualify as an “individual,
corporation, partnership or other business entity”; they are non-commercial entities, like that
recognized in Sicom Sys., Ltd. v. Agilent Techs., Inc., 427 F.3d 971, 974 (Fed. Cir. 2005).

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limitations on WRF in the UW-WRF License and the TAA would also apply to the later grant

from WRF to NeuroGrafix, and affect the scope of NeuroGrafix’s rights.

       Furthermore, UW and St. George’s

                                                                         Id. § 5.1. Finally, the

agreement allows       F



                    Id. § 8.2.

     C.    Plaintiffs’ Divided Rights Deprive Them of Constitutional Standing Because No
           Plaintiff Has an Injury-In-Fact nor the Power to Sue on Behalf of the Others.

       Even if the Amended Agreement is deemed to cover the ’360 patent and even if

NeuroGrafix had received all substantial rights in the patents, none of the plaintiffs has

constitutional standing to sue, so these suits should still be dismissed. NeuroGrafix granted an

exclusive license to NIMA, retaining no rights other than the right to sue. NIMA purportedly

sublicensed exclusive rights back to NeuroGrafix and NIMA within specific fields of use. Each

of the three plaintiffs has the right to sell a device capable of being used in any of the fields of

use, however, and anyone who purchases that device can, under the doctrine of patent

exhaustion, use it in any way without infringing the ’360 patent. The purported exclusivity is

therefore illusory because none of the three Plaintiffs can effectively exclude others from its

respective field of use. As a result, the transfers between the plaintiffs severed the right to sue

from any exclusive rights to practice the invention, divesting plaintiffs of constitutional standing.

           1.   The Purported Exclusivity of the Sublicenses to NeuroGrafix and IBSC is
                Illusory.

       Although they purportedly have exclusive field-of-use licenses, neither NeuroGrafix nor

IBSC has obtained the right to exclusivity, even within their field of use, because third parties

can lawfully practice the ’360 patent within those fields of use without the permission of the

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purportedly exclusive licensee. The NIMA-IBSC License purports to give IBSC an exclusive

license to “make, have made, use, import, sell, offer to sell, and have sold Licensed Products

under the Patent Rights” for “any use in surgical procedures.” Ex. 14 §§ 1.10, 2.1. NeuroGrafix

transferred all of its exclusive rights in the ’360 patent to NIMA, except the right to sue and

control litigation, receiving a purportedly exclusive sub-license for non-human medicine uses of

the patent. Ex. 13 § 3.1. But because NIMA purportedly has the right “to make, have made, use,

import, sell, offer to sell, and have sold Licensed Products under the Patent Rights,” id. § 2.1, it

can make or have made devices for, e.g., “diffusion tensor imaging and diffusion anisotropy

based tractography,” Philips Compl. [12-cv-11065 Dkt. No. 1] ¶ 21, and sell those devices to

whoever will buy them.

       NIMA and IBSC both have the right to sell devices designed to obtain images of

structures within human subjects. These can be used for either surgical or non-surgical

procedures and would be capable of obtaining images in at least some non-human mammalian

subjects, as well, such as primates. And NeuroGrafix has the right to sell the same devices

because of their capability for non-human use.

       Since any of the three plaintiffs has the right to effectively compete within the field of use

allocated to the other two without causing any infringement. “The longstanding doctrine of

patent exhaustion provides that the initial authorized sale of a patented item terminates all patent

rights to that item.” Quanta Computer, Inc. v. LG Electronics, Inc., 553 U.S. 617, 625 (2008).

Furthermore, “method patents [are] exhausted by the sale of an item that embodie[s] the

method.” Id. at 629. The purchase of a patented machine – in these cases, MRI machines

programmed to perform diffusion tensor imaging – “carries with it the right to the use of that

machine so long as it is capable of use.” Id. at 625.



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        Since Plaintiffs have no right to stop one another from interfering in their respective

fields of use, the fields of use licensed by NIMA to NeuroGrafix and IBSC are not actually

exclusive, and neither of those two latter entities has constitutional standing. See Propat Int’l

Corp. v. RPost, Inc., 473 F.3d 1187, 1193-94 (Fed. Cir. 2007) (licensees without exclusive rights

lack standing, even when the patent owner is also joined). Moreover, because NeuroGrafix has

the exclusive right to sue or settle with any Third Party accused of infringement, Ex. 13 § 6.2;

Ex. 14 § 6.2, and NIMA and IBSC have no such right, NeuroGrafix could effectively grant

licenses outside its field of exclusivity, again rendering NIMA’s and IBSC’s “exclusive” field-of-

use rights illusory.

           2.    IBSC is a Bare Licensee With No Standing Whatsoever.

        Because the purported exclusivity of its license is illusory, IBSC has suffered no legal

injury and does not have constitutional standing. “It is well-settled that non-exclusive licensees

do not have constitutional standing to sue.” Schreiber Foods, Inc. v. Beatrice Cheese, Inc., 402

F.3d 1198, 1202-03 (Fed. Cir. 2005) (citing Intellectual Prop. Dev., Inc. v. TCI Cablevision of

Cal., Inc., 248 F.3d 1333, 1345 (Fed.Cir.2001)). IBSC therefore cannot be a plaintiff to these

actions, and Defendants request that it be dismissed with prejudice.

           3.    NeuroGrafix Lacks Constitutional Standing to Sue Because it Has Only a
                 Bare Power to Sue Without Any Exclusive Right to Practice.

        Defendants request that any claims by NeuroGrafix be dismissed for the same reason as

the claims by IBSC, because NeuroGrafix retains, at best, a non-exclusive license to use the ’360

patent in the field of non-human medicine. As a non-exclusive licensee, NeuroGrafix lacks

constitutional standing and cannot sue. The fact that the contract purported to retain for

NeuroGrafix the power to sue for infringement, that bare contractual pronouncement cannot cure

a constitutional lack of standing. See Propat, 473 F.3d at 1190 (holding the right to sue cannot


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be exercised without some exclusive right to the patent); Diodem, LLC v. Lumenis Inc., No. 2:03-

cv-02142, 2005 WL 6219898, at *9-11 (C.D. Cal. Sept. 14, 2005) (“[T]he purported grant of a

bare ‘right to sue,’ which is assigned in isolation, divorced from any accompanying exclusive

right to make, use, vend, or otherwise practice the invention within a licensed field of exclusivity

amounts to nothing more than the disguised grant of a bare ‘right to sue,’ which cannot provide a

basis for standing . . . .”).

        Like the license at issue in Propat, the NeuroGrafix-NIMA License is primarily concerned

with NIMA’s licensing rights and royalty obligations, except that it also expressly reserves for

NeuroGrafix the right to sue for infringement and control. Ex. 13 § 6.2. As noted above, however,

the attempt to give any exclusive rights was ineffective, and a bare licensee can have no

constitutional standing to sue, regardless of the terms of any contract. See Propat, 473 F.3d at

1193-94 (“A bare licensee cannot cure its lack of standing by joining the patentee as a party.”).

            4.    NIMA Has No Right to Sue

        While NeuroGrafix has no standing to sue, NIMA is expressly excluded from pursuing an

infringement action by the terms of the NeuroGrafix-NIMA License. Ex. 13 § 6.2 (“Licensor

[NeuroGrafix] has the exclusive right to sue for any infringement by Third Parties.”) (emphasis

added). The explicit language of this section states that NeuroGrafix is the only party to

“pursu[e] such action.” Id. At best, NIMA is limited to “assist[ing]” NeuroGrafix. Id. A right to

assist in a lawsuit, however, is not the same as a right to join the lawsuit as a party. Moreover,

the right to assist NeuroGrafix is plainly insufficient here because NeuroGrafix itself lacks

standing to pursue these actions. NIMA therefore cannot “assist” NeuroGrafix. Finally, to the

extent Plaintiffs asserted that this provision supports a right to sue, this would further support

Defendants’ argument that WRF retained substantial rights because the WRF-NeuroGrafix

License includes nearly identical language obligating WRF to assist NeuroGrafix in litigation.
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See Ex. 12 § 7.2.11

     D.    Plaintiffs Have Not Demonstrated That Leave to File Amended Complaints
           Would Be Justified, and The Court Should Dismiss With Prejudice.

        In light of the foregoing, the Court should dismiss the complaints with prejudice. The

Court should not grant leave for Plaintiffs to amend the complaints.12 In its extensive litigation

concerning the ’360 patent, Plaintiffs have had ample opportunity to enter into a licensing

agreement that unambiguously grants them all substantial rights to the ’360 patent. This is

especially true in light of the ruling in NeuroGrafix’s previous litigation with Siemens Medical

Solutions, USA, Inc., that the 1998 Agreement between WRF and NeuroGrafix did not transfer

substantially all rights to NeuroGrafix. See Ex. 18, NeuroGrafix v. Siemens Med. Sol’ns, USA, Inc.,

No. SA CV 10-1990 MRP (RZX) (C.D. Cal. June 30, 2010) (Order Regarding Motion to Dismiss).

Yet, Plaintiffs have, inexplicably, failed to do so. Cf. Sicom Sys., Ltd. v. Agilent Techs., Inc., 427

F.3d 971, 980 (Fed. Cir. 2005) (upholding dismissal with prejudice where plaintiff had a chance to

cure prudential standing defect and failed to do so). Moreover, in a curious strategy, Plaintiffs

already attempted to bring these actions with pleadings that apparently were intended to conceal

the existence of the Amended Agreement, despite the fact that it had been entered into prior to the

filing of the complaints. At this point, Plaintiffs’ strategic maneuvers to conceal their inadequate

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   Plaintiffs previously asserted that NIMA has the right to sue because it has the right to
“participate in patent litigation,” but Plaintiffs cited no evidence as to where NIMA obtained this
participatory right. Ex. 19 (Opp. to Mot. to Dismiss in University of Chicago) at 12 (emphasis
omitted).
Plaintiffs also pointed to section 2.1 of the NeuroGrafix-NIMA agreement to argue that NIMA’s
“exclusive” rights revert to NeuroGrafix “if a court finds that NIMA does not have standing to
sue.” Ex. 13 § 2.1. Such a “drafting incompetency contingency” clause cannot confer standing –
it only shows that the drafters did not have confidence in their ability to draft a license to
properly confer standing.
12
   An amendment to add a party as a plaintiff would not cure constitutional standing issues. See
Schreiber Foods, Inc. v. Beatrice Cheese, Inc., 402 F.3d 1198, 1202-03 & n.3 (Fed. Cir. 2005)
(constitutional standing must exist at the time of the complaint).

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standing to enforce the patent-in-suit should bar them from further attempts at bringing these

defendants into court. Accordingly, the Court should dismiss with prejudice. See id.

     E.     If the Court Does Not Immediately Dismiss This Case, Focused Jurisdictional
            Discovery is Warranted Based on Plaintiffs’ Responses So Far.

        If the Court does not grant Defendants’ consolidated motion to dismiss, then Defendants

request discovery specifically directed to the standing issue, and that discovery on other issues be

stayed. If Plaintiffs want this Court to rely on testimony regarding events from 1994, Defendants

are entitled to explore the credibility of Plaintiffs’ witness and the reliability of his statements

and to discover any additional facts and documents relevant to the agreements at issue.

Moreover, given the highly fractured ownership and licensing history of the ’360 patent,

significant questions remain as to who would need to be joined as a plaintiff to “cure” prudential

standing concerns and whether any research funding agencies and entities, e.g., the NIH and GE

Medical Systems, co-own the patent and, because of their absence, eliminate the plaintiffs’

standing. See Lucent Techs., Inc. v. Gateway, Inc., 543 F.3d 710, 722 (Fed. Cir. 2008) (dismissal

for lack of standing where co-owner was not joined).

V.   CONCLUSION

        There are critical defects at every step in the chain of title from the UW to the Plaintiffs,

and any one of those defects precludes Plaintiffs standing to sue. As a result, the Plaintiffs lack

both constitutional and prudential standing to bring these actions, and Defendants’ motion to

dismiss should be granted.



Dated: May 14, 2013                             Respectfully submitted,

                                                   /s/ Michael A. Molano
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                                 CERTIFICATE OF SERVICE

        I, Michael A. Molano, hereby certify that this document, filed through the ECF system,

will be sent electronically to the registered participants as identified on the Notice of Electronic

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Date: May 14, 2013                                     /s/ Michael A. Molano
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